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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                               1/12/21
--------------------------------------------------------------------- x
UNITED STATES OF AMERICA,                                             :
                                                                      :
                                            Plaintiff,                :
                                                                      :   20-CR-421 (ALC)
                 -against-                                            :
                                                                      :   ORDER
DIMITRIS ALIFRAGIS,                                                   :
                                                                      :
                                            Defendant.                :
                                                                      :
                                                                      :
---------------------------------------------------------------------
                                                                      x
ANDREW L. CARTER, JR., District Judge:

         The sentencing scheduled for January 15, 2021 is adjourned to April 15, 2021 at

11:30 a.m.

SO ORDERED.

Dated:            New York, New York
                  January 12, 2020




                                                     ____________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
